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From:             Vought, Russell
To:               _DL_CFPB_AllHands
Subject:          Additional Directives on Bureau Activities
Date:             Monday, February 10, 2025 8:30:43 AM


Good morning, CFPB staff,
As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
headquarters building is closed this week. Employees should not come into the office. Please do not
perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
Chief Legal Officer, to get approval in writing before performing any work task. His email is
Mark.Paoletta@cfbp.gov. Otherwise, employees should stand down from performing any work task.
Thank you for your attention on this matter.
Best,
Russ Vought
Acting Director
Bureau of Consumer Financial Protection
